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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TERRELL GENTRY, et al.,                        ]      Civil Action No. 4:14-cv-363
                                               ]
v.                                             ]      Class & Collective Action
                                               ]
SCIENTIFIC DRILLING                            ]
INTERNATIONAL, INC.,                           ]
                                               ]


                             NOTICE OF MDL PANEL’S RULING


     The MDL panel’s order denying Scientific Drilling’s motion is attached.

                                               Respectfully submitted,

                                               BRUCKNER BURCH PLLC

                                                      /s/ Rex Burch
                                               By: _________________________________
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                                  CERTIFICATE OF SERVICE

        I served this document on Scientific Drilling via the Court’s ECF system.

                                               /s/ Rex Burch
                                               ____________________________________
                                               Richard J. (Rex) Burch
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                              UNITED STATES JUDICIAL PANEL
                                           on
                                MULTIDISTRICT LITIGATION


IN RE: SCIENTIFIC DRILLING INTERNATIONAL, INC.,
FAIR LABOR STANDARDS ACT (FLSA) LITIGATION                                               MDL No. 2536


                                 ORDER DENYING TRANSFER


        Before the Panel: Pursuant to 28 U.S.C. § 1407, defendant Scientific Drilling International,
Inc., moves to centralize this litigation in the Southern District of Texas. The litigation consists of
two actions pending in the Southern District of Texas and the District of Wyoming. Plaintiffs in both
actions oppose centralization and, alternatively, request the District of Wyoming.

        Defendant contends that centralization is warranted based on common factual allegations
concerning whether certain employees on oil and gas rigs (“Measurement While Drilling” technicians)
are entitled to overtime pay under federal and state laws and the involvement of overlapping putative
classes. Plaintiffs oppose centralization as unnecessary, stating that they recognize the overlap in the
actions and they already have agreed to coordinate pretrial proceedings to avoid duplicative discovery
and inconsistent rulings.

        On the basis of the papers filed and the hearing session held, we will deny defendant’s motion.
The actions unquestionably share factual questions arising out of allegations that defendant has failed
to pay certain employees overtime compensation in violation of the Fair Labor Standards Act (FLSA)
and wage and hour laws in North Dakota and Wyoming. The proponent of centralization faces a
heavy burden, however, to demonstrate that centralization of these two actions is appropriate. See
In re: Transocean Ltd. Sec. Litig. (No. II), 753 F. Supp. 2d 1373, 1374 (J.P.M.L. 2010) (“As we
have stated in the past, where only a minimal number of actions are involved, the moving party
generally bears a heavier burden of demonstrating the need for centralization.”). Moving defendant
has failed to do so in these circumstances.

         We are convinced of the likelihood that voluntary cooperation or Section 1404 transfer will
ensure that these actions proceed in a coordinated manner. In response to a Section 1404 motion,
the Southern District of Texas court recently stated its intent to defer to the decision of the court with
the first-filed action.1 Thus, there is a reasonable prospect that Section 1404 transfer will eliminate
the multidistrict character of the litigation. See In re: Gerber Probiotic Prods. Mktg. & Sales
Practices Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012) (“The Panel has often stated that
centralization under Section 1407 ‘should be the last solution after considered review of all other



        1
         See Gentry v. Scientific Drilling Int’l, Inc., C.A. No. 14-00363, Doc. No. 7, Order at ¶ 2
(S.D. Tex. Apr. 23, 2014).
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options.’”) (quoting In re Best Buy Co., Inc., California Song-Beverly Credit Card Act Litig., 804
F. Supp. 2d 1376, 1378 (J.P.M.L.2011)).

       Additionally, the two cases before us are not particularly complex. Thus, given the small
number of involved actions, and the correspondingly limited number of involved counsel and courts,
we conclude that centralization would not necessarily serve the convenience of the parties and
witnesses or promote the just and efficient conduct of these two actions at this time. Alternatives to
formal centralization appear to be workable, particularly at this early stage of litigation. See In re:
Dollar Tree Stores, Inc. Fair Labor Standards Act (FLSA) and Wage and Hour Litig., 829 F. Supp.
2d 1376, 1377 (J.P.M.L. 2011).

        IT IS THEREFORE ORDERED that the motion, pursuant to 28 U.S.C. § 1407, for
centralization of these two actions is denied.


                                            PANEL ON MULTIDISTRICT LITIGATION




                                                          John G. Heyburn II
                                                               Chairman

                                       Marjorie O. Rendell             Charles R. Breyer
                                       Lewis A. Kaplan                 Sarah S. Vance
                                       Ellen Segal Huvelle             R. David Proctor
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IN RE: SCIENTIFIC DRILLING INTERNATIONAL, INC.,
FAIR LABOR STANDARDS ACT (FLSA) LITIGATION                        MDL No. 2536


                                    SCHEDULE A


           Southern District of Texas

     GENTRY, ET AL. v. SCIENTIFIC DRILLING INTERNATIONAL, INC.,
         C.A. No. 4:14-00363

           District of Wyoming

     SMITH v. SCIENTIFIC DRILLING INTERNATIONAL, INC., C.A. No. 2:14-00017
